
13 Cal.Rptr.3d 300 (2004)
89 P.3d 732
GRADLE
v.
DOPPELMAYR USA.
No. S123905.
Supreme Court of California.
May 12, 2004.
Review granted.
Further action in this matter is deferred pending consideration and disposition of a related issue in Elsner v. Uveges, S113799 (see Cal. Rules of Court, rule 28.2(d)(2)), or pending further order of the court. Submission of additional briefing, pursuant to California Rules of Court, rule 29.1, is deferred pending further order of the court.
GEORGE, C.J., KENNARD, BAXTER, WERDEGAR, CHIN, BROWN, and MORENO, JJ., concur.
